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IN THE UNITED STATES DISTRICT COURT' "f- -~9 ` ` C
FOR THE WESTERN DISTRICT OF TENNESS'EE /:j”"

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uNlTED sTATEs oF AMERICA, ) ""“‘
)
Plaintiff, )
)
vs. ) NO. 1_02-10069
)
RoCKY MoRRls WHITE, )
)
Defendant. )

 

ORDER DENYING DEFENDANT’S MOTION FOR TIME SERVED IN STATE
CUSTODY

 

Defendant Rocky Morris White Was found guilty of being a convicted felon in
possession of a firearm, in violation of 18 U.S.C. § 922(g), and Was sentenced to a prison
term of 260 months with the Bureau of Prisons (“BOP”). On December 17, 2003,
Defendant’s parole was revoked and he was transferred to the Tennessee Departrnent of
Correction (“TDOC”) to serve the remainder of a sixteen-year sentence for several cases
involving aggravated assault, aggravated burglary, theft of property, and reckless
endangerment On November 8, 2004, Defendant Was notified that his request for a mmc
pro tunc designation Was approved, allowing for concurrent service of his state and federal
sentences However, Defendant’s request for all time spent in state custody to be applied

to his federal sentence pursuant to Willis v. United States, 438 F.Zd 923 (5lh Cir. 1971), and

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Kayfez v. Gasele, 993 F.2d 1288 (7“" Cir. 1993), was denied. Defendant was given thirty
days to appeal this decision with the Bureau of Prisons. Defendant did not appeal

Before the court is Defendant’s motion to request credit for time served in state
custody, thus, he is now appealing the November 8lh decision of the Bureau of Prisons.l The
commencement and sentencing of the term of imprisonment of a federal prisoner, including
any awards of credits, is governed by 18 U.S.C. § 3585, which states:

(a) Commencement of sentence. A sentence to a term of imprisonment
commences on the date the defendant is received in custody awaiting
transportation to, or arrives voluntarily to commence service of
sentences at, the official detention facility at Which the sentence is to
be served.

(b) Credit for prior custody. A defendant shall be given credit toward the
service of a term of imprisonment for any time he has spent in official
detention prior to the date the sentence commences-

(1) as a result of the offense for which the sentence was imposed;
or

(2) as a result of any other charge for which the defendant Was
arrested after the commission of the offense for which the
sentence was imposed;

that has not been credited against another sentence.

18 U.S.C. § 3585.
As an initial matter, the court cannot grant or compute sentence credits under 18

U.S.C. § 3585(b). lt is well-established that “this issue is not ripe for review until the

 

l The Sentencing Reform Act of 1984 places strict limits on a court’s power to modify a
judgment imposing sentencel Under 18 U.S.C. § 3582 and Fed. R. Crim. P. 35, a sentencing
court may modify the sentence imposed only under certain very narrow circumstances Fed. R.
Crim. P. 35(c) permits correction of technical errors in a sentence, but only if the court acts
within seven days of entry of judgment Although Fed. R. Crim. P. 36 contains no time
limitation, it permits only correction of clerical mistakes in judgments White, however, does not
seek to modify his sentence and does not contend that the judgment contained any clerical errors

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Bureau of Prisons has ruled on a defendant’s request for credit.” United States v. Cobleigh,
75 F.3d 242, 251 (6‘h Cir. 1996); WUnited States v. Wilson, 503 U.S. 329, 333-34 (1992).
Accordingly, White must exhaust his administrative remedies through the BOP before he
may petition the district court to review any administrative decision denying credit for time
served in state custody. A prisoner who wishes to appeal a decision by the Bureau of
Prisons must seek administrative review of the computation or denial of credits, g C.F,R.
§§ 542.10-542.16, and, when he has exhausted all administrative remedies, he may then seek
judicial relief pursuant to 28 U.S.C. § 2241. _S__ee W_ils@, 503 U.S. at 355; McCain v.
Bureau ofPrisons, 9 F.Bd 503, 505 (6th Cir. 1993); United States v. Dowling, 962 F.Zd 390,
393 (5“‘ Cir. 1992). Therefore, exhaustion of administrative remedies with the BOP is a
jurisdictional prerequisite to seeking the district court’s review of the BOP’s sentence credit
calculation

Here, White fails to demonstrate that he has exhausted his administrative remedies
with the Bureau ofPrisons. The BOP’s November 8th letter to White stated that he had thirty
days to appeal their decision denying his request. Defendant has failed to establish that he
took any such action. Thus, although Defendant claims to have exhausted all available
administrative remedies, he clearly has not. Consequently, this court has no jurisdiction over

his claim for sentence credit for time spent in state custody. Wilson, 503 U.S. at 333; United

 

States v. Westmoreland, 974 F.Zd 953 (6"1 Cir. 1981). Defendant’s motion is, therefore,

DENIED.

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IT IS SO ORDERED.

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JAM D TODD
ED STATES DISTRICT JUDGE

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DATE

 

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This notice confirms a copy of the document docketed as number 68 in
case l:02-CR-10069 was distributed by fax, mail, or direct printing on
.lune 9, 2005 to the parties listed.

 

 

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